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                                UNITED STATES DISTRICT COURT
17

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION

20                                      )         Case No. 4:19-cv-07123-PJH
      WHATSAPP LLC and                  )
21    META PLATFORMS, INC., a Delaware  )         PLAINTIFFS’ TRIAL EXHIBIT LIST
22    corporation,                      )
                                        )         Pretrial Conference Date: April 10, 2025
23                    Plaintiffs,       )         Time: 2:00 p.m.
                                        )         Ctrm: 3
24           v.                         )         Judge: Hon. Phyllis J. Hamilton
                                        )         Trial Date: April 28, 2025
25    NSO GROUP TECHNOLOGIES LIMITED )
26    and Q CYBER TECHNOLOGIES LIMITED, )
                                        )
27                    Defendants.       )
                                        )
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 1           TO THE COURT, THE PARTIES AND COUNSEL OF RECORD:
 2           PLEASE TAKE NOTICE that Plaintiffs WhatsApp LLC and Meta Platforms, Inc. hereby
 3   submit the numerical list of exhibits that Plaintiffs intend to introduce into evidence as part of their
 4   case-in-chief at the time of trial. Plaintiffs’ Trial Exhibit List is attached hereto as Exhibit 1.
 5           PLEASE TAKE NOTICE that this Exhibit List does not include documents or things which
 6   Plaintiffs may need to use for impeachment or rebuttal purposes. Plaintiffs expressly reserve the
 7   right, subject to the Court’s discretion, to use additional documents or things for impeachment or
 8   rebuttal purposes should the need arise at the time of trial. Plaintiffs submit this Exhibit List subject
 9   to the arguments made in their concurrently filed motions in limine and expressly note that some
10   exhibits may be excluded pursuant to those motions in limine. By including a document in this
11   Exhibit List, Plaintiffs do not assert or concede that it is necessarily admissible. Plaintiffs also reserve
12   the right to use any exhibit listed on Defendants’ proposed exhibits, demonstratives, and other similar
13   documentary materials to be introduced at trial.
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     PLAINTIFFS’ TRIAL EXHIBIT LIST - CASE NO. 4:19-CV-07123-PJH
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      Dated: March 13, 2025                           Respectfully Submitted,
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 2                                                    DAVIS POLK & WARDWELL LLP

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                                                      By: /s/ Greg D. Andres
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     PLAINTIFFS’ TRIAL EXHIBIT LIST - CASE NO. 4:19-CV-07123-PJH
